                       Case 2:23-cr-00001-DPM                  Document 145                 Filed 05/22/25        Page 1 of 5
AO 2458 (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet I
                                                                                                                          FILED
                                                                                                                  wJi:.S.BNQIJBIGitP
                                                                                                                          OISlRICT CoyJfi
                                                                                                                                        wes
                                          UNITED STATES DISTRICT COURT                                                     MAY 212025
                                                           Eastern District of Arkansas                        By:T~RK
                                                                          )
                UNITED STATES OF AMERICA                                  )          JUDGMENT IN A CRIMINAL CASE DEPCLERK
                                   v.                                     )
                       Thomas David Carruth                               )
                                                                          )          Case Number: 2:23-cr-1-DPM
                                                                          )          USM Number: 38335-510
                                                                          )
                                                                          )           Jeff Rosenzweig & Robby Golden
                                                                          )          Defendant's Attorney
THE DEFENDANT:
D pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
  which was accepted by the court.
l!1 was found guilty on count(s)          8
                                         -----------------------------------
   aft er a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                         Offense Ended               Count
18 U.S.C. §§ 1001(a)(2)            False Statement to Agent of the Federal Government,                       5/2/2022                8
                 &2                a Class D Felony



       The defendant is sentenced as provided in pages 2 through                5           of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
liZl The defendant has been found not guilty on count(s)          1-7
                                                                ---------------------------
!ill Count(s)    9                                      ~ is       Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defen<lant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                            5/19/2025
                                                                         Date of Imposition of Judgment




                                                                         Signature   ~¼,.LI                  17
                                                                          D.P. Marshall Jr.                          United States District Judge
                                                                         Name and Title of Judge


                                                                                              J.I    4..'l ;;to;;tS
                                                                         Date
                      Case 2:23-cr-00001-DPM                Document 145            Filed 05/22/25          Page 2 of 5
AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                    Judgment - Page       2   of   5
 DEFENDANT: Thomas David Carruth
 CASE NUMBER: 2:23-cr-1-DPM

                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total tenn of:
 24 months.




      Ill The court makes the following recommendations to the Bureau of Prisons:
           1) designation to FCI Texarkana or FCI Millington to facilitate family visitation.




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
          D at                                     D a.m.    D p.m.       on
                    ---------
          D as notified by the United States Marshal.

      Ill The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ~ before 2 p.m. on          8/22/2025
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                       to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                             DEPUTY UNITED STATES MARSHAL
                     Case 2:23-cr-00001-DPM                Document 145            Filed 05/22/25          Page 3 of 5
AO 2458 (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                       Judgment-Page     '3'   of       '5'
DEFENDANT: Thomas David Carruth
CASE NUMBER: 2:23-cr-1-DPM
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 None.




                                                    MANDATORY CONDITIONS
l.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check ifapplicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check ifapplicable)
5.     D You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.     D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                          Judgment - Page       4    of        5
 DEFENDANT: Thomas David Carruth
 CASE NUMBER: 2:23-cr-1-DPM
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                Restitution                    Fine                   AVAA Assessment*            JVTA Assessment**
 TOTALS           S 100.00                  $--                         s                       s                           s

 D    The detennination of restitution is deferred until _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such detennination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless s~cified otherwise in
     the prioricy order or percentage payment column below. However, pursuant to 18U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                   Total Loss***                  Restitution Ordered         Priority or Percentage




 TOTALS                               $                          0.00                          0.00
                                                                                    $- - - - - - -


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the              D    fine     D restitution.
       D the interest requirement for the           D     fine       D restitution is modified as follows:

 * Amy, VickyVand Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for ictims of Trafficking Act of2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, I IOA, and I 13A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                          Judgment - Page   5      of       5
 DEFENDANT: Thomas David Carruth
 CASE NUMBER: 2:23-cr-1-DPM

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~     Lump sum payment of$ _1~0~0~.0~0_ __            due immediately, balance due

             D    not later than _                               , or
             D    in accordance with D C,           D D,     D    E,or      liZI F below; or
 B    D Payment to begin immediately (may be combined with               D C,        D D, or     D F below); or

C     D Payment in equal           _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D    D Payment in equal     _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
             _ _ _ _ (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E    □      Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    liZI   Special instructions regarding the payment of criminal monetary penalties:
              If Carruth can't pay the special assessment and restitution immediately, then during incarceration he must pay 50
              percent per month of all funds available to him. After release, he must pay 10 percent of his gross monthly
              income. Carruth must make payments until the assessment and restitution are paid in full.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal mone!aJY penalties is due during
the period of imprisonment. All criminal mone~ Jlt'.naHies, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                Joint and Several               Co~sponding_ Payee,
      (including defendant number)                        Total Amount                     Amount                        1f appropnate




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:



 Pa)'!!lents shall be applied in the following order: (I) assessment, (2) restitution princ9?al, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JV'rA assessment, (9) penalties, and (IO) costs, mcluding cost of
prosecution and court costs.
